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10                         UNITED STATES DISTRICT COURT
11               FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   JENNY LISETTE FLORES; et al.,           Case No. CV 85-4544-DMG

13           Plaintiffs,
14
                                             Plaintiffs Comments re ICE
                  v.                         Juvenile Coordinator’s Report
15                                           [DOC. # 932-1]
16
     WILLIAM P. BARR, Attorney
     General of the United States; et al.,   Hearing: September 4, 2020 11 AM
17
                                             [HON. DOLLY M. GEE]
18           Defendants.
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2    Plaintiffs’ counsel continued:

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1          This Court’s Order of August 7, 2020 (“August Order”) [Doc. # 912]
2    required the Juvenile Coordinators to file their next interim report by August 24,
3    2020, covering the topics listed in the April 24, 2020 Order [Doc. # 784]. The
4    parties and amici were ordered to meet and confer regarding any areas of dispute
5    and the Order stated the Court would not consider any issues at the September 4,
6    2020, status conference not shared and discussed in advance in an effort to achieve
7    resolution.

8
           On August 27, 2020, Plaintiffs shared with Defendants in writing three
     concerns with the ICE Juvenile Coordinator’s Report “(Report”) and Defendants
9
     responded in writing. Plaintiffs offered to meet telephonically on August 27 or 28
10
     but Defendants’ counsel was not available to do so.
11
           1. Some summaries of why minors have not been released in the unredacted
12
     Attachment A to the Report raise concerns. For example:
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           a. The unredacted Attachment A to the Report states: “The minor is subject
14
     to a final order of removal and there are no legal impediments to removal at this
15
     time. Minor/family is scheduled for removal on November 3, 2020 via ICE charter
16
     flight. Due to COVID 19, there are not commercial flights for individual family
17   unit removals and ICE must coordinate charter flights with individual countries.
18   ICE is working with the Consulate of Democratic Republic of Congo for the travel
19   documents and concurrence to receive the family.” For another Class Member the
20   Report states: “The minor is subject to a final order of removal and there are no
21   legal impediments to removal at this time. The family is cooperating with the
22   travel document process and has completed the documents required for issuance of
23   their travel documents. The ICE Assistant Attache for Removals in Vietnam is

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     working with the Vietnamese government on the travel documents needed to
     effectuate the removal. Once the documents are issued the family will be scheduled
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     for removal on the next available removal flight.”
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1          Concern: With regards the first Class Member, November 3, 2020, is more
2    than two months away. With regards the second, it could be months before travel
3    documents are obtained. Plaintiffs believe a minor's ¶ 14 rights remain viable if
4    removal is not relatively imminent.
5          Defendants did not respond to the issue of the length of these Class
6    Members’ detention, instead responding that in order to release a Class Member
7    whose parent is not eligible for release, a parent or legal guardian has to identify a

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     caregiver and give permission for such release. And “as of yet there are no
     protocols in place for such a release.”
9
           Plaintiffs believe this situation violates the FSA and may be cured in part if
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     Plaintiffs’ pending motion for an Order requiring the issuance of advisals and
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     establishment of steps to release minors is granted.
12
           Even then it remains unclear how long Defendants believe they can detain
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     Class Members without regard to Paragraphs 14 and 18 because at some point in
14
     the future they will be removed. Nor is it clear if a parent wants her child released
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     whether ICE will continue to deny release for reasons previously opposed by
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     Plaintiffs and rejected by this Court. See, e.g., June Order at 5,¶4.d; Order of May
17   22, 2020 at 2 (“The information submitted by ICE continues to show cursory
18   explanations for denying minors release under the FSA, including vague categories
19   such as ‘USCIS/IJ Review,’ which the Court previously criticized.”) [Doc. # 799].
20   If deportation is indeed imminent then the FSA does not require release of a Class
21   Member. However, “[t]he definition of ‘imminent’ is ‘ready to take place’ or
22   ‘happening soon.’” Order of April 24, 2020, at 13, quoting Merriam-Webster
23   Online. [Doc. # 784].

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           Plaintiffs do not object to the parties meeting and conferring further on these
     issues after the Court determines the pending motion for advisals and a protocol to
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     implement Class Members’ release.
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1          b. The unredacted Attachment A to the Report states for most minors: “This
2    minor may be eligible for individual release if the parent designates a caregiver to
3    whom the minor can be released. As of today, a parent has not designated a
4    caregiver or requested that the minor be released separately from her or him.”
5          Concern: These entries show the need for an advisal and
6    protocol. Defendants position is that they are aware of the pending motion “and
7    expect the Court will resolve this issue.”
8          2. The Report states: "ICE has been making continuous efforts to release
9    Class Members under applicable standards throughout the course of this litigation
10   ..." Plaintiffs do not believe this statement is accurate though it requires no

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     immediate action aside from the matters the Court is already addressing or

12
     ordering the parties to address.
           3. The Report states: From July 22 to August 17, 2020, 126 Class Members
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     were released into the interior of the United States.
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           Concern: The Report does not explain why these class members were
15
     released or whether they were released in compliance with the FSA or simply
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     because ICE decided to release their parents for unknown reasons.
17
           In order to respond fully to the Juvenile Coordinator Reports and to enforce
18
     the monitoring rights of Class Counsel under Paragraphs 32-33 of the FSA,
19
     Plaintiffs informed Defendants that they wish to conduct video conference
20   interviews with detained Class Members and parents. Defendants have not
21   responded. Plaintiffs believe they are entitled to such monitoring during the
22   COVID-19 pandemic and will further meet and confer on this issue and advise the
23   Court and Special Master/Independent Monitor if Defendants refuse to permit
24   monitoring and Class Member interviews via video-conference.
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1                                   Respectfully submitted,
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     Dated: August 28, 2020         /s/ Peter Schey
3                                   Peter A. Schey
4                                   CENTER FOR HUMAN RIGHTS &
                                    CONSTITUTIONAL LAW
5                                   Counsel for Plaintiffs
6
                               CERTIFICATE OF SERVICE
7

8          I hereby certify that on August 28, 2020, I served the foregoing pleading on
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     all counsel of record by means of the District Clerk’s CM/ECF electronic filing
10
     system.
11

12
                                                  /s/ Peter Schey
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                                                 Peter A. Schey
14                                               CENTER FOR HUMAN RIGHTS &
                                                 CONSTITUTIONAL LAW
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                                                 Class Counsel for Plaintiffs
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